           Case: 1:22-cv-02691 Document #: 1 Filed: 05/20/22 Page 1 of 9 PageID #:1




                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 ALLEN LARSON,
                                                         CIVIL COMPLAINT
               Plaintiff,

 v.                                                      CASE NO. 1:22-cv-2691

 KOHL’S, INC.,
                                                         DEMAND FOR JURY TRIAL
               Defendant.


                                            COMPLAINT

           NOW COMES Plaintiff, ALLEN LARSON (“Plaintiff”), by and through his attorneys,

Consumer Law Partners, LLC, complaining as to the conduct of KOHL’S, INC. (“Defendant”), as

follows:

                                       NATURE OF THE ACTION

      1.    Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

Act (“TCPA”) under 47 U.S.C. §227 et seq., the Illinois Consumer Fraud and Deceptive Business

Practices Act (“ICFA”) under 815 ILCS 505/1 et seq., as well as for Invasion of Privacy (“IOP”)

for Defendant’s unlawful conduct.

                                      JURISDICTION AND VENUE

      2.    This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C. §227, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States. Supplemental jurisdiction exists for the state law claims

pursuant to 28 U.S.C. §1367.




                                                   1
        Case: 1:22-cv-02691 Document #: 1 Filed: 05/20/22 Page 2 of 9 PageID #:2




   3.    Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Northern District of Illinois and a substantial portion of the events and/or omissions giving

rise to this action occurred within the Northern District of Illinois.

                                              PARTIES

   4.    Plaintiff is a disabled consumer over 18-years-of-age residing in Cook County, Illinois,

which is located within the Northern District of Illinois.

   5.    Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

   6. Defendant operates department stores and offers store credit cards to consumers throughout

the United States. Defendant is a corporation organized under the laws of the state of Delaware,

with its principal place of business located at N56 W17000 Ridgewood Drive, Menomonee Falls,

Wisconsin 53051.

   7.    Defendant is a “person” as defined by 47 U.S.C. §153(39).

   8.    Defendant acted through its agents, employees, officers, members, directors, heirs,

successors,    assigns,   principals,   trustees,   sureties,   subrogees,   third-party contractors,

representatives and insurers at all times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

   9.    Plaintiff previously obtained a line of credit through Defendant in order to purchase

personal and household goods.

   10. As a result of his physical disabilities, Plaintiff was rendered unable to work, causing him

to fall behind on his monthly payments owed to Defendant, thus incurring debt (“subject debt”).

   11. For the last several months, Plaintiff has been receiving calls to his cellular phone, (708)

XXX-3854, from Defendant.




                                                    2
       Case: 1:22-cv-02691 Document #: 1 Filed: 05/20/22 Page 3 of 9 PageID #:3




   12. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in -3854. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

   13. Defendant has used various phone numbers when placing collection calls to Plaintiff’s

cellular phone, including but not limited to (262) 704-9780.

   14. Upon information and belief, the aforementioned phone number ending in -9780 is

regularly utilized by Defendant during its debt collection activity.

   15. Upon answering Defendant’s phone calls, Plaintiff is often greeted by a pre-recorded

and/or artificial message before he is connected with a live representative.

   16. Upon speaking with Defendant, Plaintiff was informed that Defendant was attempting to

collect upon the subject debt.

   17. Plaintiff has notified Defendant’s representatives that he did not have the means to make

payment, and requested that Defendant stop calling him.

   18. Plaintiff has even reiterated these requests during subsequent conversations, including in

in early April 2022, but in spite of this explicit information, Defendant has placed at least 25 phone

calls to Plaintiff’s cellular phone through the present day.

   19. Seeing no end to Defendant’s harassing conduct, Plaintiff was forced to retain counsel,

and his damages therefore include reasonable attorneys’ fees incurred in prosecuting this action.

   20. Plaintiff has been unfairly treated and harassed by Defendant's actions.

   21. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to: the exacerbation of his physical and medical ailments, loss of sleep, stress, invasion of

privacy, aggravation that accompanies collection telephone calls, emotional distress, increased

usage of his telephone services, and diminished cellular phone capacity and functionality.



                                                  3
       Case: 1:22-cv-02691 Document #: 1 Filed: 05/20/22 Page 4 of 9 PageID #:4




            COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   22. Claimant repeats and realleges paragraphs 1 through 21 as though fully set forth herein.

   23.    The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

 cellular phone using an automatic telephone dialing system (“ATDS”) or an artificial or pre-

 recorded voice without their consent.

   24. Defendant used pre-recorded and/or artificial messages when placing calls to Plaintiff’s

cellular phone. Upon answering Defendant’s phone calls, Plaintiff was subjected to a pre-recorded

and/or artificial messages prompting him to hold before he was connected with a representative.

   25. Defendant violated the TCPA by placing at least 25 phone calls to Plaintiff’s cellular

phone using pre-recorded and/or artificial messages without his consent. Any consent Claimant

may have given to Defendant by virtue of incurring the subject debt was explicitly revoked by

Claimant’s demands that it cease contacting him.

   26. The calls placed by Defendant to Plaintiff were regarding business transactions and not

for emergency purposes as defined by the TCPA under 47 U.S.C. § 227(b)(1)(A)(i).

   27. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C). Defendant was notified, on numerous occasions, that

its calls were unwanted. Armed with this knowledge, however, Defendant still willfully chose to

continue its barrage of calls to Plaintiff’s cellular phone.

   WHEREFORE, Plaintiff, ALLEN LARSON, respectfully requests that this Honorable Court

enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

                                                   4
        Case: 1:22-cv-02691 Document #: 1 Filed: 05/20/22 Page 5 of 9 PageID #:5




   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages pursuant
      to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.

                       COUNT II – VIOLATIONS OF THE ILLINOIS
                CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT

   28. Plaintiff restates and realleges paragraphs 1 through 27 as though fully set forth herein.

   29. Plaintiff is a “person” and “consumer” as defined by 815 ILCS 505/1(c) and (e) of the

ICFA.

   30. Defendant’s calls to Plaintiff are “trade” and “commerce” as defined by 815 ILCS

505/1(f) of the ICFA.

   31. The ICFA states:

               “Unfair methods of competition and unfair or deceptive acts or
               practices, including but not limited to the use or employment of any
               deception, fraud, false pretense, false promise, misrepresentation or
               the concealment, suppression or omission of any material fact, with
               intent that others rely upon the concealment, suppression or
               omission of such material fact . . . in the conduct of any trade or
               commerce are hereby declared unlawful whether any person has in
               fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

   32. Defendant violated 815 ILCS 505/2 by engaging in an unfair and deceptive act or practice

in contacting Plaintiff. It was unfair for Defendant to relentlessly contact Plaintiff through means

of an automated system after Plaintiff had notified Defendant to stop calling. Yet, Defendant

persisted with its calling campaign with the intent of harassing Plaintiff to extract payment from

him. Defendant’s continued conduct prompted Plaintiff to file this action.




                                                 5
      Case: 1:22-cv-02691 Document #: 1 Filed: 05/20/22 Page 6 of 9 PageID #:6




   33. Following its characteristic behavior in placing voluminous calls to consumers, Defendant

engaged in an unfair and deceptive act, willfully done with the hope that Plaintiff would return its

calls. Moreover, Defendant intended that Plaintiff rely on its unfair and deceptive conduct.

Defendant had repeatedly been notified of Plaintiff’s demands that it cease calling him, and despite

this explicit information, Defendant still proceeded with its harassing and unlawful conduct.

   34. Plaintiff lacks a meaningful choice to go about avoiding Defendant’s contacts, which

places an unreasonable burden on Plaintiff to try and address Defendant’s conduct. This further

underscores the immoral, unethical, oppressive, and unscrupulous nature of Defendant’s conduct

which is contrary to public policy.

   35. The ICFA was designed to protect consumers, such as Plaintiff, from the exact behavior

committed by Defendant.

   36. Defendant’s conduct of placing incessant telephone calls to an individual without that

individual’s consent involves trade practices directed to the market generally and which otherwise

implicate consumer protection concerns.

   37. Plaintiff was the subject of Defendant’s incessant and relentless efforts. The nature of

Defendant’s conduct in placing relentless phone calls after repeatedly being told to cease doing so

encompasses behavior which impacted Plaintiff and which would similarly impact other

consumers. Such conduct raises serious consumer protection concerns as entities such as

Defendant must not be given free rein to harass consumers by placing excessive telephone calls

and extracting money without consent. The relief requested below serves the interests of

consumers by ensuring this pervasively unfair conduct is addressed.

   38. The ICFA further states:

               “Any person who suffers actual damage as a result of a violation of
               this Act committed by any other person may bring an action against

                                                 6
       Case: 1:22-cv-02691 Document #: 1 Filed: 05/20/22 Page 7 of 9 PageID #:7




               such person. The court, in its discretion may award actual economic
               damages or any other relief which the court deems proper.” 815
               ILCS 505/10a.

   39. As pled in paragraphs 19 through 21, Plaintiff has suffered actual damages as a result of

Defendant’s unlawful practices. As such, Plaintiff is entitled to relief pursuant to 815 ILCS

505/10a.

   40. An award of punitive damages is appropriate because intentionally and repeatedly

bombarding Plaintiff’s cellular phone after being told to stop is egregious conduct that is hallmark

of outrageous, willful, and wanton behavior. Upon information and belief, Defendant regularly

engages in the above-described behavior against consumers in Illinois and for public policy

reasons should be penalized.

   WHEREFORE, Plaintiff, ALLEN LARSON, respectfully requests that this Honorable Court

enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual and punitive damages, in an amount to be determined at
      hearing, for the underlying violations;

   c. Awarding Plaintiff costs and reasonable attorney fees;

   f. Enjoining Defendant from further contacting Plaintiff; and

   d. Awarding any other relief as this Honorable Court deems just and appropriate.

                  COUNT III-INVASION OF PRIVACY-INTRUSION UPON SECLUSION

   41. Plaintiff restates and realleges paragraphs 1 through 40 as though fully set forth herein.

   42. Defendant intentionally invaded Plaintiff’s privacy through its barrage of dozens of

unwanted automated phone calls to Plaintiff’s cellular phone. This conduct was highly intrusive

and invasive to Plaintiff, and thus, eliminated Plaintiff’s right to privacy.


                                                   7
      Case: 1:22-cv-02691 Document #: 1 Filed: 05/20/22 Page 8 of 9 PageID #:8




   43. Defendant’s unsolicited phone harassment campaign severely disrupted Plaintiff’s privacy,

disrupted his overall focus, and continually frustrated and annoyed Plaintiff to the point where he

was denied the ability to quietly live his life, instead having it upended by Defendant’s harassing

phone call campaign.

   44. These persistent collection calls eliminated the peace and solitude that Plaintiff would have

otherwise had in his home and/or any other location in which he would have normally brought his

cellular phone.

   45. By continuing to call Plaintiff in an attempt to coerce him into making payment, all while

having knowledge that Plaintiff did not wish to receive any further communications, Defendant

provided Plaintiff with no reasonable escape from its incessant conduct.

   WHEREFORE, Plaintiff, ALLEN LARSON, respectfully requests that this Honorable Court

enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual damages;

   c. Award Plaintiff punitive damages;

   d. Award Plaintiff reasonable attorney’s fees and costs;

   e. Enjoining Defendant from contacting Plaintiff; and

   f. Awarding any other relief as this Honorable Court deems just and appropriate.


   DATED this 20th day of May, 2022.                 Respectfully Submitted,

                                                      /s/ Taxiarchis Hatzidimitriadis
                                                     Taxiarchis Hatzidimitriadis #6319225
                                                     CONSUMER LAW PARTNERS, LLC
                                                     333 N. Michigan Ave., Suite 1300
                                                     Chicago, Illinois 60601
                                                     (267) 422-1000 (phone)

                                                8
Case: 1:22-cv-02691 Document #: 1 Filed: 05/20/22 Page 9 of 9 PageID #:9




                                       (267) 422-2000 (fax)
                                       teddy@consumerlawpartners.com

                                       Attorneys for Plaintiff, Allen Larson




                                   9
